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      10th   Floor                                                                                ___
WASHINGTON, DC 20036                                                                       A LIMITED LIABILITY
                                                                                             PARTNERSHIP




                                             November 19, 2020



     VIA ECF

     Hon. Vince Chhabria
     San Francisco Courthouse, Courtroom 4
     450 Golden Gate Avenue
     San Francisco, CA 94102

                 Re:   In re Roundup Prods. Liab. Litig., No. 16-md-02741-VC: Correction to list
                       requested by the Court (Exhibit 1)

     Dear Judge Chhabria:

              The parties write to correct the list of settled cases attached as Exhibit 1 to my November
     16, 2020 letter regarding “Lists Requested by the Court.” A corrected Exhibit 1 is attached to
     this letter.

     The following cases were incorrectly listed and have been removed from the list of settled cases:

        MDL Case Name           MDL Case #
         Booth, David            3:20-cv-
                                  04654
         Cochran, Robert         3:17-cv-
                                  03200
         Coressel, Denise        3:20-cv-
                                  03720
         Cryan, Catherine        3:17-cv-
                                  05084
             Faschingbauer,      3:17-cv-
                Larry J.          03202
              O'Neil, Linda      3:17-cv-
                                  03378
        Rhuland, Jason C.        3:19-cv-
                                  05598
             Rowland, Dean       3:19-cv-
                                  05310
             Sanchez, Sabas      3:17-cv-
                                  03377
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    Setzer, William         3:17-cv-
                             03448
  Shipley, Joseph E.        3:17-cv-
                             01982
  Wachtman, Vernon          3:20-cv-
                             06119
   Wistinghausen,           3:20-cv-
       Robert                00027
  Hoffman, William          3:20-cv-
                             02805
    Scotto, Ellen D.        3:19-cv-
                             03299

The following cases have been added to the list of settled cases:

  MDL Case Name          MDL Case #
  McCall, Anthony         3:16-cv-
                           05749
   Patterson, Lynda       3:16-cv-
                           05787

        As the parties have previously informed the Court, given the number of plaintiffs and
plaintiffs’ firms involved in the discussions, the nature of settlement discussions is fluid and
changes regularly. The parties will be prepared to discuss how often the Court would like an
update to this list at the next case management conference.

        Finally, the parties note that due to the McCall case being added to the list of settled
cases, the first motion listed on Exhibit 2 to my November 16, 2020 letter listing the pending
MDL motions, i.e., a May 13, 2016 NOTICE OF MOTION AND MOTION to Dismiss Case
filed by Defendant Monsanto Company, D.E. 36 in Case No. 3:16-cv-05749, can be denied as
moot.

                                                      Respectfully submitted,

                                                      /s/ Brian L. Stekloff

                                                      Brian L. Stekloff (pro hac vice)
                                                      Rakesh Kilaru (pro hac vice)
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Cc: Counsel of Record (via ECF)




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                                      CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 19th day of November 2020, a copy of the foregoing

was filed with the Clerk of the Court through the CM/ECF system which sent notice of the filing

to all appearing parties of record.


                                                   /s/ Brian L. Stekloff




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